     Case 19-90065-LT    Filed 07/08/20   Entered 07/08/20 23:33:24    Doc 68-1    Pg. 1 of 3




     Christopher R. Bush CS SBN 243471
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     The Law Office of Chris Bush
2    2727 Camino del Rio South, Suite 135
3    San Diego, CA 92108
     Tel. (619) 678-1134
4    chris@chrisbushlaw.com
5    Attorney for Plaintiff
6
7                       UNITED STATES BANKRUPTCY COURT
8
                        SOUTHERN DISTRICT OF CALIFORNIA

9
     KRYSTAL ANNE MEDINA,                      Case No.: 17-05276-LT7
10
                         Debtor.
11                                             Adv. No.: 19-90065-LT

12
     KRYSTAL ANNE MEDINA
13                                              PLAINTIFF’S EVIDENTIARY
                         Plaintiff              OBJECTIONS TO DEFENDANT’S
14                                              MOTION FOR SUMMARY JUDGMENT
     v.
15
     National Collegiate Student Loan          Date: August 5, 2020
16   Trust 2006-3
                                               Time: 10:00 AM
17                       Defendant             Dept.: 3
18
19         Plaintiff, Krystal Anne Medina, hereby Objects to the Admission of evidence
20   submitted by Defendant, National Collegiate Student Loan Trust 2006-3, as follows.
21         Plaintiff Objects to the Affidavit of Bradley Luke in that he attempts to
22   authenticate business records from prior to the time TSI possessed the records, testifies
23   with regards to matters for which he has no personal knowledge, and asserts legal
24   conclusions. Mr. Luke testifies that he has “personal knowledge as to how NCSLT’s
25   records related to Plaintiff’s loan were created” (64-1 Para. 2; emphasis added). He does
26   not testify that he is familiar with the creation of, or record keeping systems of, any
27   other entity responsible for the production or keeping of these “prior loan records and/or
28   documentation,” including, specifically, AES, JP Morgan Chase Bank N.A., or The
     Education Resources Institute.

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     Case 19-90065-LT     Filed 07/08/20   Entered 07/08/20 23:33:24    Doc 68-1   Pg. 2 of 3




1           It further should be noted that the shortcomings in Mr. Luke’s affidavit have been
2    explicitly noted in other similar proceedings. See In re Holguin, 2019 WL 6880081, at
3    *6 (Bkrtcy. D.N.M. 2019) (“The Luke Affidavit’s self-serving statement that he has
4    ‘personal knowledge’ that TERI paid out on some of its guarantees, without any
5    supporting documentation, is ineffective. . . unless the affiant was present to witness a
6    payout on the guaranty, the witness cannot have ‘personal knowledge.”).
7           Plaintiff Objects to the Affidavit’s Paragraph 7, to the extent it applies to any
8    records created or maintained by any entity other than TSI.
9           Plaintiff Objects to the Affidavit’s Paragraph 15 as Mr. Luke does not state that
10   he has personal knowledge of said deposit nor does he provide any business records
11   evidencing said deposit.
12          Plaintiff Objects to the Affidavit’s Paragraph 22 as Mr. Luke does not reference
13   any specific public record or identify any of the cited exhibits as public records.
14          Plaintiff Objects to the Affidavit’s Paragraph 24 as it does not reflect the contents
15   of the Exhibit. The referenced Exhibit is plainly dated “EXECUTION 4/18/02” in the
16   top right corner. There is no date in Paragraph 1, contrary to Mr. Luke’s citation.
17   Paragraph 1.3 contemplates a “Conversion Date” of May 13, 2002 but expressly
18   provides for conditions that would allow for a different “Conversion Date”.
19          Plaintiff Objects to the Affidavit’s Paragraph 31 as the document cited merely
20   recites future obligations and does not evidence that any particular obligation was, in
21   fact, fulfilled.
22          Plaintiff Objects to the Affidavit’s Paragraph 32 as it does not reflect the contents
23   of the Exhibit. The referenced Exhibit appears to describe the transfer of “Chase Extra”
24   loans, however there does not appear to be any evidence on the record that establishes
25   that Plaintiff’s loan is a “Chase Extra” loan or is otherwise subject to this “Supplement”
26   to the September 30, 2003 Agreement (that is likewise not part of the record).
27          ///
28          ///


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     Case 19-90065-LT    Filed 07/08/20   Entered 07/08/20 23:33:24   Doc 68-1    Pg. 3 of 3




1          Plaintiff Objects to the Affidavit’s Paragraph 37 as it does not reflect the contents
2    of the Exhibit. The referenced Exhibit might evidence a claim filed by a lender under
3    the terms of a guaranty agreement, but does not appear to evidence that such claim was
4    actually paid or “funded” (See Docket 64-6, Page 4, describing conditions of guaranty).
5
6    Date: __7/8/2020____                   _/s/ Christopher R. Bush____________
                                            Christopher R. Bush, Attorney for Plaintiff
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